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AO 187 (Rev. 7/87) | USDC/CRT-009 (Rev, 9/10) Exhibit and Witness List NOV 2.0 206

UNITED STATES DISTRICT COURT] yencgabepencn CLERK
SOUTHERN DISTRICT OF WEST VIRGINIA U.S. District Court

Southern District of West Virginia
AT HUNTINGTON
DAWN DENISE McCOMAS
Executrix of the Estate of
BILLIE PLYMALE
Vv. EXHIBIT AND WITNESS LIST
KIRT THOMAS MILLER, D.P.M.
Case Number: 3:13-14953
PRESIDING JUDGE PLAINTIFF'S ATTORNEY DEFENDANT'S ATTORNEY
Honorable Robert C. Chambers Richard Lindsay and Matthew Lindsay | Tammy White and Samantha Thomas
TRIAL DATE (S) COURT REPORTER COURTROOM DEPUTY
11/18/2014, 11/19/2014 Teresa M. Ruffner Larry Ash
No | No | onmteep | MARKED | ADMITTED DESCRIPTION OF EXHIBITS* OR NAME OF WITNESSES
x 11/18 Kirt Thomas Miller, D.P.M.
1 | 18 | X | XX | Progress Notes from HIMG
2 11/18 xX x Surgical Report from St. Mary's 10/25/2011
3 11/18 x xX Micro Biology Report from Time of Surgery
4 11/18 x xX Pathology Report from day of Surgery
5 11/18 xX xX Lab result showing Staph Infection
6 | wis | X | X {dr Miller CV
xX 11/19 Barry Singer, M.D.
1 1i/19 x xX Dr. Singer CV
7 11/19 x Photograph
8 11/19 x Photograph
9 11/19 x Photograph
10 11/19 x Photograph
11 11/19 x Photograph
12 11/19 xX Photograph
x 11/19 Gerrit Kimmie, M.D.
xX 11/19 Paul Durst, M.D.
x 11/19 Dawn McComas
2 11/19 xX x Photo of Foot
3 11/19 x xX Photo of Foot

* Include a notation as to the location of any exhibit not held with the case file or not available because of size

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& AO 187A (Rev. 7/87) EXHIBIT AND WITNESS LIST — CONTINUATION
Plymale vs. Miller CASENO- 3.13-14953
PLY. DEF. DATE MARKED | ADMITTED DESCRIPTION OF EXHIBITS AND WITNESSES

NO. NO. OFFERED

I 1 11/18 Joint Exhibit of HIMG Progress Notes

4 11/19 X | X_ | Photo of Plaintiffs foot
5 11/19 xX | X_ | Family photo
6 11/19 xX | XX | Photo of Plaintiff
7 11/19 xX | X_ | Expenses Stipulation
x LX
x |X

2 2 11/18 Joint Exhibit of Photo of Biology films

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